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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON
                                 AT TACOMA

    SAHRA AUBE,
                    Plaintiff(s),
         v.                                          Case No. 3:22−cv−05165−BHS
    EQUIFAX CREDIT INFORMATION                       ORDER SETTING
    SERVICES LLC et al.,                             JURY TRIAL AND
                   Defendant(s).                     PRETRIAL DATES




                            I. TRIAL AND PRETRIAL DATES
     FOUR JURY TRIAL set for 09:00 AM                          August 29, 2023
     Deadline for filing motion to join parties                August 11, 2022
     Deadline for amending pleadings                           August 22, 2022
     Disclosure of expert testimony under FRCP 26(a)(2)        February 21, 2023
     Disclosure of rebuttal expert testimony under             March 22, 2023
     FRCP 26(a)(2)
     All motions related to discovery must be filed by         April 3, 2023
     Discovery completed by                                    May 1, 2023
     All dispositive motions must be filed by                  May 31, 2023
     Motions in limine should be filed pursuant to Local
                                                               July 24, 2023
     Rule CR 7(d)(4) by
     Agreed pretrial order filed with the Court by             August 7, 2023
     Pretrial conference will be held at 01:30 PM on           August 14, 2023
     Trial briefs, proposed voir dire, jury instructions, agreed
     neutral statement of the case and deposition                August 8, 2023
     designations due by



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         If any of the dates identified in this order or the Local Civil Rules fall on

      a weekend or federal holiday, the act or event shall be performed on that day,

      per LCR 6. These are firm dates that can be changed only by order of the Court.

         If this case is not settled, it will go to trial on the date set or as soon

      thereafter as the Court is available.

                 II. FINDINGS OF FACT AND CONCLUSIONS OF LAW

         Where appropriate, the parties are encouraged to work together in the

      creation of proposed findings of fact and conclusions of law. On or before

      the deadline for filing proposed findings and conclusions the parties shall

      email their proposed findings and conclusions in Word format to

      settleorders@wawd.uscourts.gov.

                                    III. PRIVACY POLICY

         Pursuant to LCR 5.2(a), parties are to redact the following information

      from documents and exhibits before they are filed with the Court:

      * Dates of Birth − redact to the year of birth, unless deceased.
      * Names of Minor Children − redact to the initials, unless deceased or currently
        over the age of 18.
      * Social Security or Taxpayer ID Numbers − redact in their entirety.
      * Financial Accounting Information − redact to the last four digits.
      * Passport Numbers and Driver License Numbers − redact in their entirety.

                                      IV. SETTLEMENT

         If this case is settled, please advise the Court immediately at

      mary_trent@wawd.uscourts.gov.

          DATED: The 12th of July 2022.

                                                               s/ Benjamin H. Settle

                                                            Benjamin H. Settle
                                                            United States District Judge


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